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                 UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NEW YORK




                     CASE MANAGEMENT ORDER




Masai Andrews,

                  Plaintiff,

            v.                                 21-cv-6764-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Joy Elizabeth Armstrong,

                  Plaintiff,

            v.                                 21-cv-6717-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Brandon Boehner, et al.,

                  Plaintiffs,

            v.                                 21-cv-6574-FPG-MJP

The City of Rochester, et al.,

                  Defendants.




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Amanda Flannery,

                    Plaintiff,

            v.                                  22-cv-6101-FPG-MJP

The City of Rochester, et al.,

                    Defendants.


Kaitlin Flannery,

                    Plaintiff,

            v.                                  22-cv-6062-FPG-MJP

The City of Rochester, et al.,

                    Defendants.


Tiara Grayson,

                    Plaintiff,

            v.                                  21-cv-6719-FPG-MJP

The City of Rochester, et al.,

                    Defendants.


Christopher Hilderbrant,

                    Plaintiff,

            v.                                  21-cv-6714-FPG-MJP

The City of Rochester, et al.,

                    Defendants.




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Jaeylon Johnson,

                  Plaintiff,

            v.                                 24-cv-6081-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Emily Lynch,

                  Plaintiff,

            v.                                 21-cv-6708-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Indiia Maring,

                  Plaintiff,

            v.                                 21-cv-6720-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Jamia McCuller,

                  Plaintiff,

            v.                                 21-cv-6763-FPG-MJP

The City of Rochester, et al.,

                  Defendants.




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Wendy Painting,

                   Plaintiff,

            v.                                 22-cv-6179-FPG-MJP

The City of Rochester, et al.,

                   Defendants.


Alyssa Pigott,

                   Plaintiff,

            v.                                 22-cv-6180-FPG-MJP

The City of Rochester, et al.,

                   Defendants.


Geoffrey Rogers,

                   Plaintiff,

            v.                                 22-cv-6583-FPG-MJP

The City of Rochester, et al.,

                   Defendants.


Daniel Sorokti,

                   Plaintiff,

            v.                                 21-cv-6709-FPG-MJP

The City of Rochester, et al.,

                   Defendants.




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Maranie Rae Staab,

                  Plaintiff,

            v.                                 22-cv-6063-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Stephanie Woodward,

                  Plaintiff,

            v.                                 21-cv-6685-FPG-MJP

The City of Rochester, et al.,

                  Defendants.


Nicole Hushla,

                  Plaintiff,

            v.                                 22-cv-6039-FPG-MJP

The City of Rochester, et al.,

                  Defendants.




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Sabine Adler,

                    Plaintiff,

             v.                                   23-cv-6513-FPG-MJP

The City of Rochester, et al.,

                    Defendants.


Kavonna Buchanan,

                    Plaintiff,

             v.                                   23-cv-6292-FPG-MJP

The City of Rochester, et al.,

                    Defendants.


Katie Adamides, et al.,

                    Plaintiffs,

             v.                                   24-cv-6107-FPG-MJP

The City of Rochester, et al.,

                    Defendants.



      The above cases are assigned to the Hon. Frank P. Geraci, Jr., Senior

District Judge, and referred to the undersigned. This serves as a case management

order based on the Court’s discussions with the parties on December 4, 2024, and

later preliminary discussions about settlement.




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       Appearances. During the December 4, 2025, conference, the Court noted the

appearances of Elliot D. Shields, Esq., and Donald M. Thompson, Esq., attorneys for

Plaintiffs. The Court noted the appearances of Christopher Noone, Esq., Patrick B.

Naylon, Esq., and John M. Campolieto, Esq., for the City Defendants. The Court

noted the appearance of Adam M. Clark, Esq., for the County Defendants. And

finally, the Court noted the appearance of Bradley Hoppe, Esq., for the only State

Defendant in Daniel Sorokti v. City of Rochester, et al., Case No. 21-cv-6709.

       Opt-outs. The Court first clarified with Mr. Shields that the settlement

conferences will not include the class-action case of Hall v. Warren, et al., Case No.

21-cv-6296. The Court clarified before the appearance that the following Plaintiffs

have opted-out of the global settlement option discussed below:

   •   Masai Andrews v. City of Rochester, et al., Case No. 21-cv-6764;

   •   Joy Armstrong v. City of Rochester, et al., Case No. 21-cv-6717;

   •   Amanda Flannery v. City of Rochester, et al., Case No. 22-cv-6101;

   •   Tiara Grayson v. City of Rochester, et al., Case No. 21-cv-6719;

   •   Christopher Hilderbrandt v. City of Rochester, et al., Case No. 21-cv-6714;

   •   Emily Lynch v. City of Rochester, et al., Case No. 21-cv-6708;

   •   Daniel Sorokti v. City of Rochester, et al., Case No. 21-cv-6709;

   •   Maranie Rae Staab v. City of Rochester, et al., Case No. 22-cv-6063;

   •   Stephanie Woodward v. City of Rochester, et al., Case No. 21-cv-6685;

   •   Nicole Hushla v. City of Rochester, et al., Case No. 22-cv-6039.




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      The County and State Defendants will not participate but have

waived crossclaims. The County Defendants reaffirmed that they would not

participate in settlement talks. Likewise, Mr. Hoppe indicated that the State of New

York would not participate given the number of opt-outs. This leaves only Plaintiffs

and the City Defendants participating in settlement discussions.

      The City Defendants had indicated that they would not participate in

settlement discussion unless the County and State Defendants waived potential

cross-claims as to the Plaintiffs opting in to settlement talks. The County and State

Defendants stipulated on the record that they would not make any such cross-claims.

      The undersigned may serve as special master, unless the parties

propose a different course. The Court next discussed the prospect of a special

master to apportion global settlement funds. The City Defendants and Plaintiffs have

tentatively agreed that the City Defendants and Plaintiffs will try to settle the opt-in

Protest Cases with a lump sum amount, with a special master to distribute

settlement funds to individual Plaintiffs later based on their injuries, among other

things. The City Defendants clarified that they are unwilling to pay for a special

master. In the interest of allowing settlement talks to proceed, the undersigned

offered to perform that role. Absent objection from either party participating in

settlement talks, the Court may perform the function of special master. However, the

parties should note that this will substantially increase the time it takes for

settlement funds to be distributed.




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      Whether the Adamides case will be included in settlement

discussion. Based on discussions following the December 4, 2024, conference, this

case will be part of the global settlement talks.

      Global demand for the opt-in cases. At the Court’s request during the

December 4, 2025, conference, the parties have exchanged an initial global demand

and offer. The Court requests that the parties provide a status letter by April 11,

2025, addressing whether global settlement discussions are worthwhile.

      Scheduling settlement conferences. By April 11, 2025, the parties

must inform the Court (1) if they believe settlement talks are worthwhile and (2)

whether they would like to proceed with those talks before the undersigned or the

Court’s mediator, Amanda Williams.

IT IS SO ORDERED.

 Dated:          March 25, 2025
                 Rochester, NY                 /s/ Mark W. Pedersen
                                               MARK W. PEDERSEN
                                               United States Magistrate Judge




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